923 F.2d 848Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roosevelt ISAAC, Plaintiff-Appellant,v.Parker EVATT, Commissioner, South Carolina Department ofCorrections, E. Grant, K. Jenkins, J. Townson,Jr., C. Brooks, L. Carter, Defendants-Appellees.
    No. 90-6871.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 15, 1990.Decided Jan. 17, 1991.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Karen L. Henderson, District Judge.  (CA-89-2264-16B)
      Roosevelt Isaac, appellant pro se.
      John Gregg McMaster, Jr., Tompkins &amp; McMaster, Robert E. Peterson, South Carolina Department of Corrections, Columbia, S.C., for appellees.
      D.S.C.
      AFFIRMED.
      Before MURNAGHAN, SPROUSE and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Roosevelt Isaac appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Isaac v. Evatt, CA-89-2264-16B (D.S.C. July 17, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    